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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                             DISTRICT OF COLUMBIA

EMILE BEGNOURITI SOMDA, A# 208 019
285,
                                                  Case No. 1:21-cv-818
 285 Plantation Street
 Apt. 209
 Worcester, MA 01604

     Plaintiff,

v.

UNITED STATES DEPARTMENT OF
HOMELAND SECURITY,

Serve: Office of the General Counsel
       Department of Homeland Security
       Mail Stop 3650
       Washington, D.C. 20528

UNITED STATES CITIZENSHIP AND
IMMIGRATION SERVICES,

Serve: U.S. Citizenship & Immigration
       Services
       425 I. Street, N.W., Room 6100
       Washington, D.C. 20536

ALEJANDRO MAYORKAS, Secretary of the
Department of Homeland Security,

Serve: Office of the General Counsel
       Department of Homeland Security
       Mail Stop 3650
       Washington, D.C. 20528

TRACY RENAUD, Senior Official Performing
the Duties of the Director of the United States
Citizenship and Immigration Services,




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 Serve: U.S. Citizenship & Immigration
        Services
        425 I. Street, N.W., Room 6100
        Washington, D.C. 20536

 and,

 KRISTEN SMITH, Director of the Lawrence
 Field Office of the United States Citizenship
 and Immigration Services,

 Serve: Kristen Smith
        USCIS
        2 Mill St.
        Lawrence, MA 01840

   Defendants.


 COMPLAINT IN THE NATURE OF MANDAMUS ARISING FROM DEFENDANTS’
 REFUSAL TO ADJUDICATE PLAINTIFF’S APPLICATION TO ADJUST STATUS

        Plaintiff Emile Begnouriti Somda respectfully requests a hearing before this Honorable

Court to make a determination on Plaintiff’s application to adjust status, or alternatively

requesting that this Honorable Court issue a writ of mandamus compelling Defendants to

adjudicate Plaintiff’s long-delayed application to adjust status.

                                             PARTIES
        1.      Plaintiff Emile Begnouriti Somda is a citizen of Burkina Faso.

        2.      Defendants granted asylum to Plaintiff on April 28, 2017.

        3.      Emile Begnouriti Somda filed a timely I-485 Application for Adjustment of

Status on May 2, 2018. Defendants assigned Receipt Number LIN1890401278 to Plaintiff’s

case.

        4.      USCIS completed the fingerprinting and photographing of Emile Begnouriti

Somda as part of the processing of the pending applications.



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          5.      Since then, the Defendants have taken no action on the pending adjustment

application. The Defendants have refused and continue to refuse to conduct an interview on the

case.

          6.      Since Emile Begnouriti Somda filed the applications with USCIS, Plaintiff has

made repeated requests to have their case finally adjudicated.

          7.      Despite numerous calls to USCIS and Plaintiff’s attempts to prompt movement on

the case, Emile Begnouriti Somda’s application to adjust status has remained pending far longer

than is reasonable.

          8.      USCIS has refused to adjudicate Emile Begnouriti Somda’s application in

accordance with applicable legal criteria.

          9.      Plaintiff brings this action to compel the USCIS to finally adjudicate the pending

applications as required by law.

          10.     Defendant Department of Homeland Security (hereinafter sometimes referred to

as “the DHS”) is the agency of the United States that is responsible for implementing the petition

for alien relative provisions of the law and assisting the USCIS with background and security

checks.

          11.     Defendant United States Citizenship and Immigration Services (hereinafter

sometimes referred to as “the USCIS”) is the component of the DHS that is responsible for

processing adjustment of status applications.

          12.     Defendant Alejandro Mayorkas, the Secretary of the DHS, is the highest ranking

official within the DHS. Mayorkas, by and through his agency for the DHS, is responsible for

the implementation of the Immigration and Nationality Act (hereinafter sometimes referred to as

“the INA”), and for ensuring compliance with applicable federal law, including the

Administrative Procedures Act (hereinafter sometimes referred to as “the APA”). Mayorkas is



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sued in an official capacity as an agent of the government of the United States.

          13.    Defendant Tracy Renaud, Senior Official Performing the Duties of the Director of

the USCIS, is the highest ranking official within the USCIS. Renaud is responsible for the

implantation of the INA and for ensuring compliance with all applicable federal laws, including

the APA. Renaud is sued in an official capacity as an agent of the government of the United

States.

          14.    Defendant Kristen Smith is the Director of the USCIS Lawrence Field Office and

is sued only in an official capacity, as well as any successors and assigns. The Lawrence Field

Office has jurisdiction over applications for adjustment of status for immigrants in Worcester,

MA, where Plaintiff resides. Smith is responsible for the implantation of the INA and for

ensuring compliance with all applicable federal laws, including the APA. Kristen Smith is sued

in an official capacity as an agent of the government of the United States.

                                        JURISDICTION AND VENUE

          15.    This Honorable Court has federal question jurisdiction over this cause pursuant to

28 U.S.C. § 1331, as it raises claims under the Constitution of the United States, the INA, 8

U.S.C. § 1101 et seq., and the APA, 5 U.S.C. § 701 et seq, in conjunction with the Mandamus

Act, 28 USC § 1361.

          16.    Venue is proper pursuant to 28 U.S.C. § 1391(e)(1) because (1) Defendants are

agencies of the United States or officers or employees thereof acting in their official capacity or

under color of legal authority; (2) no real property is involved in this action, and; (3) the

Defendants all maintain offices within this district.

                                    FIRST CLAIM FOR RELIEF
                    (Agency Action Unlawfully Withheld and Unreasonably Delayed)

          For the first claim for relief against all Defendants, Plaintiff alleges and state as follows:




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        17.     Plaintiff realleges and incorporate by reference the foregoing paragraphs as

though fully set out herein.

        18.     The APA requires that “[w]ith due regard for the convenience and necessity of the

parties or their representatives and within a reasonable time, each agency shall proceed to

conclude a matter presented to it.”       5 U.S.C. § 555(b).      Section 555(b) creates a non-

discretionary duty to conclude agency matters. Litton Microwave Cooking Prods. v. NLRB, 949

F.2d 249, 253 (8th Cir. 1991). A violation of this duty is a sufficient basis for mandamus relief.

        19.     The APA permits this Honorable Court to “compel agency action unlawfully

withheld or unreasonably delayed.” 5 U.S.C. § 706(1).

        20.     Plaintiff alleges that the application has been in administrative processing beyond

a reasonable time period for completing administrative processing of the adjustment of status

application.

        21.     The combined delay and failure to act on Emile Begnouriti Somda’s adjustment

of status application is attributable to the failure of Defendants to adhere to their legal duty to

avoid unreasonable delays under the INA and the applicable rules and regulations.

        22.     There are no alternative adequate or reasonable forms of relief available to

Plaintiff.

        23.     Plaintiff has exhausted all available administrative remedies in pursuit of a

resolution of this matter, including repeatedly requesting the processing of the case with the

USCIS via phone and InfoPass appointments.

                                   SECOND CLAIM FOR RELIEF
                               (Violation of Right to Due Process of Law)

        For the second claim for relief against all Defendants, Plaintiff alleges and states as

follows:




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        24.     Plaintiff realleges and incorporate by reference the foregoing paragraphs as

though fully set out herein.

        25.     The right to fundamental fairness in administrative adjudication is protected by

the Due Process Clause of the Fifth Amendment to the United States Constitution. Plaintiff may

seek redress in this Court for Defendants’ combined failures to provide a reasonable and just

framework of adjudication in accordance with applicable law.

        26.     The combined delay and failure to act by Defendants has violated the due process

rights of Plaintiff.

        27.     The combined delay and failure to act by Defendants has irrevocably harmed

Plaintiff in the denial of an opportunity to claim lawful permanent resident status, as well as the

ability to sponsor family members for residence in the U.S. and in various other ways.

                                       REQUEST FOR RELIEF

        WHEREFORE, Plaintiff Emile Begnouriti Somda requests the following relief:

        1.      That this Honorable Court assume jurisdiction over this action;

        2.      That this Honorable Court issue a writ of mandamus compelling Defendants to

promptly complete all processing of Emile Begnouriti Somda’s application to adjust status

within sixty days;

        3.      That this Honorable Court take jurisdiction of this matter and adjudicate Emile

Begnouriti Somda’s application to adjust status pursuant to this Court’s declaratory judgment

authority;

        4.       That this Honorable Court issue a writ of mandamus compelling Defendants to

issue a green card to Emile Begnouriti Somda;

        5.      That this Honorable Court issue a writ of mandamus compelling Defendants to

explain to Plaintiff the cause and nature of the delay and inform Plaintiff of any action they may



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take to accelerate processing of the application to adjust status;

       6.      Attorney’s fees, legal interests, and costs expended herein, pursuant to the Equal

Access to Justice Act, 28 U.S.C. § 2412;

       7.      Such other and further relief as this Honorable Court may deem just and proper.



                                                                RESPECTFULLY SUBMITTED
                                                                           March 26, 2021


                                                                         /s/ James O. Hacking, III
                                                                              James O. Hacking, III
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                                                                ATTORNEYS FOR PLAINTIFF
                                                                EMILE BEGNOURITI SOMDA




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